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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                 *****
 9   UNITED STATES OF AMERICA,           )
                                         ) 3:08-cr-00120-LRH-RAM
10                           Plaintiff,  )
                                         ) ORDER
11   vs.                                 )
                                         )
12   GLOBAL ONE GROUP, LLC; RICHARD      )
     YOUNG; WILLIAM WILLARD; MAELEE )
13   ENTERPRISES, INC.; and BADIE, INC.  )
                                         )
14                           Defendants. )
                                         )
15
16          WHEREAS, Defendants have moved for a continuance of the trial scheduled in this
17   action on March 24, 2009 (#29), and suggested that the continued trial date should be
18   rescheduled in January 2010, the Government having no objection to the continuance but
19   objecting to continuing it beyond September 2009 (#31), the court hereby grants a continuance
20   based upon the following grounds:
21          That the Indictment in this action is against five defendants and was returned on
22   December 3, 2008. It contains thirty-eight (38) counts, including conspiracy, mail fraud, wire
23   fraud, laundering of monetary instruments, engaging in monetary transactions derived from
24   specific unlawful activity, and related forfeiture counts;
25          That the discovery provided to date exceeds 8,000 pages and is not yet complete. The
26   Government has agreed to provide all contemplated discovery by July 1, 2009;
27          That the grounds set forth for the requested continuance are true, that the additional time
28   requested is not sought for purposes of delay;
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 1           That it is unreasonable to expect that counsel would be able to adequately prepare for
 2   pretrial proceedings or for the trial itself within the time limits established under the Speedy Trial
 3   Act, Title 18, U.S.C. § 3161(h)(8)(A) and (B)(i), and (iv); and
 4           That the failure to grant a continuance would be likely to result in a miscarriage of justice.
 5           Based upon the foregoing, the court concludes that ends of justice served by granting this
 6   continuance outweigh the best interests of the public and the defendants in a speedy trial and that
 7   the additional time required by the continuance is excludable under the Speedy Trial Act, Title
 8   18, U.S.C. § 3161(h)(8)(A) and (B)(i), and (iv).
 9           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that trial set for March 24,
10   2009, is VACATED and reset to November 3, 2009, at 8:30 a.m. in Courtroom 5 of the Bruce R.
11   Thompson Federal Courthouse.
12           IT IS FURTHER ORDERED that dispositive motions be filed on or before August 15,
13   2009.
14           IT IS SO ORDERED.
15           DATED this 12th day of March, 2009.
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                                                    LARRY R. HICKS
19                                                  UNITED STATES DISTRICT JUDGE
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